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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               ALEXANDRIA DIVISION


WAYLON BAILEY                                      CASE NO. 1:20-CV-01211

VERSUS                                             JUDGE DAVID C. JOSEPH

RANDELL ILES ET AL                                 MAGISTRATE JUDGE PEREZ-MONTES

                                   MINUTES OF COURT:
                                        Jury Trial
 Date:               January 22, 2024 Presiding: Judge David C. Joseph
 Court Opened:       9:00 a.m.         Courtroom Deputy:    Yvonna Tice
 Court Adjourned:    4:20 p.m.         Court Reporter:      Cathleen Marquardt
 Statistical Time:   5:05              Courtroom:           2nd Floor Courtroom

                                   APPEARANCES
 Garret Scott DeReus, Andrew Bizer       For   Waylon Bailey, Plaintiff
 H Bradford Calvit, Eli Meaux            For   Randell Iles, Defendants et al

                                      PROCEEDINGS

   Jury Selection/Jury Trial Day ONE
   Opening Statement - Plaintiff
   Opening Statement - Defendants
   Testimony & evidence for the Plaintiff, concluded



RULINGS/COMMENTS:
    The case laid over to the following day at 9:00 a.m. Counsel to appear at 8:45 a.m.
for a charging conference.
